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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    SOUTHERN POVERTY LAW CENTER,
              Plaintiff,

         v.                                                 Civil Action No. 18-0760 (CKK)
    U.S. DEPARTMENT OF HOMELAND
    SECURITY, et al.,

              Defendants.


                            MEMORANDUM OPINION AND ORDER
                                   (February 2, 2022)
        This case concerns detained immigrants’ access to legal counsel and conditions of

confinement in relation to three Immigration and Customs Enforcement (“ICE”) detention

facilities: LaSalle ICE Processing Center in Jena, Louisiana (“LaSalle”); Pine Prairie ICE

Processing Center in Pine Prairie, Louisiana (“Pine Prairie”); and Stewart Detention Center in

Lumpkin, Georgia (“Stewart”) (collectively, “Facilities”). 1 Plaintiff Southern Poverty Law

Center (“SPLC”) is an organization that provides representation for detained persons at these the

Facilities. Plaintiff claims principally that ICE engages in patterns or practices that

impermissibly harm Plaintiff’s clients’ rights to access to counsel and substantive due process

under the Fifth Amendment. On June 17, 2020, the Court agreed that ICE’s current practices

were deficient and entered a [123] temporary restraining order and injunction against Defendants

ordering them to remedy those deficiencies.




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  At the time this case was filed, Plaintiff provided legal services to detainees at a fourth facility,
Irwin County Detention Center in Ocilla, Georgia (“Irwin”). Defendants represent that this
facility has since been closed, and Plaintiff does not contest Defendants’ representation. The
Court shall address whether to dismiss the claims involving Irwin in a separate order.
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         In its [139] Motion to Enforce the Court’s June 17, 2020 Order Granting Injunctive Relief

(“Motion to Enforce”) and [176] Supplemental Brief of Factual and Legal Updates in Support of

its Motion to Enforce, Plaintiff argues that Defendants are not in compliance with any aspect of

the Court’s injunction and requests: (1) an order mandating compliance with the injunction and

(2) the appointment of a special master after a finding of noncompliance. Defendants, on the

other hand, insist they are in full compliance. Because the vast majority of the parties’ instant

dispute is factual and based upon patterns and practices at Facilities to which Plaintiff does not

have physical access, the Court shall defer resolving the evidentiary issues and appoint a Special

Monitor to inspect each remaining Facility as to compliance with the Court’s [123] Order.

Herein, the Court does, however, resolve legal questions as to construction of the Court’s [123]

Order. Moreover, because the Court has yet to make a finding of noncompliance, it shall deny

without prejudice Plaintiff’s request for a special master. Accordingly, and upon consideration of

the briefing, 2 the relevant legal authorities, and the record, the Plaintiff’s [139] Motion is

DENIED WITHOUT PREJUDICE IN PART and HELD IN ABEYANCE IN PART.




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    The Court’s consideration has focused on the following documents:
      • Plaintiff’s Memorandum in Support of Its Motion to Enforce the Court’s June 17, 2020
         Order Granting Injunctive Relief, ECF No. 139-1 (“Pl.’s Mot.”);
      • Defendants' Response and Opposition to Plaintiff’s Motion to Compel Compliance with
         the June 17, 2020 Order, ECF No. 143 (“Defs.’ Resp.”);
      • Plaintiff’s Reply in Support of Its Motion to Enforce the Court’s June 17, 2020 Order
         Granting Injunctive Relief, ECF No. 147 (“Pl.’s Repl.”);
      • Plaintiff’s Supplement Brief of Factual and Legal Updates in Support of Its Motion to
         Enforce, ECF No. 176 (“Pl.’s Supp. Br.”); and
      • Defendants’ Response and Opposition to Plaintiff’s Supplemental Briefing in Support of
         Plaintiff’s Motion to Compel Compliance with the June 17, 2020 Order, ECF No. 180
         (“Defs.’ Supp. Resp.”).
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                                     I.     BACKGROUND

       As to the factual and legal background of this case prior to the entry of its temporary

restraining order and injunction, the Court refers the reader to the Court’s July 17, 2020 [124]

Memorandum Opinion. Therein, the Court entered an injunction against Defendants ordering as

follows:

       [1] Defendants shall comply with the optimal-level requirements of the Performance-
       Based National Detention Standards related to calls and video-teleconferences;
       [2] shall ensure that the telephones, video-teleconference systems, and other devices used
       to access legal representatives are in good working order and shall designate points of
       contact at the Facilities for related issues;
       [3] shall ensure that attorney-client confidentiality be maintained on legal calls and video-
       teleconferences;
       [4] shall devise, implement, and advertise procedures for scheduling and accessing calls
       and video-teleconferences and shall designate points of contact at the Facilities for related
       questions and issues;
       [5] shall comply with the CDC interim Guidance with respect to the cleaning of devices
       and spaces used for legal calls and video-teleconferences;
       [6] shall create, implement, and advertise procedures through which detained individuals
       and legal representatives may exchange confidential legal documents electronically and
       shall designate points of contact at the Facilities for related questions and issues;
       [7] and shall train staff at the Facilities on the aforementioned procedures.

Id. at 4. On August 7, 2020, Plaintiff filed its [139] Motion to Enforce, arguing that Defendants

were in compliance with none of the Court’s seven requirements. For evidentiary support,

Plaintiff relied primarily on sworn declarations of Plaintiff’s staff members and affiliates

communicating or analyzing anonymous complaints from Plaintiff’s clients. See generally id.,

ECF No. 139-3, Declaration of Shalini Goel Agarwal, ECF No. 139-4, Declaration of Laura G.

Rivera, ECF No. 139-5, Declaration of Dr. Dona Schriro. Defendants, on the other hand, insist

that they are in substantial compliance with each of the requirements in the Court’s [123] Order.

Defs.’ Supp. Resp. at 6. For their evidentiary support, Defendants offer sworn declarations of

management at each Facility. See id. at 13-17.




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       After the parties completed briefing the instant Motion, the parties jointly moved for

mediation and a stay pending mediation. ECF No. 161 at 1. The parties informed the Court on

August 16, 2021 that mediation had not resolved the case, ECF No. 172, and the Court ordered

the parties to file supplemental memoranda on compliance with the Court’s [123] Order. ECF

No. 173 (Aug. 25, 2021). The parties have since maintained their respective positions. See Pl.’s

Supp. Br. at 10; Defs.’ Supp. Resp. at 6.

                                       II.    DISCUSSION

   A. Special Monitor

       Whereas Federal Rule of Civil Procedure governs the appointment of a “special master,”

a special “monitor” is governed by the Court’s own inherent authority. See Cobell v. Norton, 392

F.3d 461, 476 (D.C. Cir. 2004). A special “master’s role is broader [than a monitor]: ‘report to

the court and, if required, make findings of facts and conclusions of law.’” Id. (brackets

removed) (quoting The Remedial Process in Institutional Reform Litigation, 78 Colum. L. Rev.

784, 827-28 (1978) (“Remedial Process”)); see also Remedial Process at 828 (“Monitors are

appropriate if . . . observation of the defendant’s conduct is restricted.”). A special monitor, on

the other hand, is cloaked with no quasi-adjudicative or quasi-prosecutorial power, and is merely

empowered to “monitor compliance” and report back to the court. Cobell, 392 F.3d at 476. The

distinction is important because, in the prison reform context, special masters are appropriate

only upon a prior finding of intransigence. See id. (citing Ruiz v. Estelle, 679 F.2d 1115, 1161-62

(5th Cir. 1982) (appointing special master to monitor constitutional violations in Texas state jails)

amended in irrelevant part 688 F.2d 266 (5th Cir. 1982).

       Here, the Court faces factual disputes arising from patterns and practices at Facilities in

which “observation of [D]efendant[]s’ conduct is restricted.” See Remedial Process at 828. For



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example, Plaintiff maintains that Defendants’ placement of phones in the Facilities do not allow

for confidential conversations. Pl.’s Supp. Br. at 11-12. Plaintiff insists that many of the phones

across the Facilities are not maintained in proper working order. Id. at 12-15. Plaintiff also avers

that Defendants have not complied with CDC Interim Guidance. Id. at 19-22. If these charges

are true, Defendants would not be in compliance with the Court’s [123] Order. To substantiate

these charges, though, Plaintiff relies on anonymous communications from its clients detained at

the Facilities. Without an independent monitor to inspect the Facilities, the Court risks making

factual findings on an uncertain record.

       The Court is in good company taking such an approach. In A.S.M. v. Warden, Stewart

Cty. Detention Ctr., No. 7:20-cv-62 (M.D. Ga. May 7, 2020), for example, the court directed ICE

to arrange for a virtual tour of the facilities to include counsel and experts from each side. ECF

No. 50 at 7. Moreover, this approach is consistent with the Court’s in Banks v. Booth, 20-cv-849,

in which it directed the parties to jointly propose an amicus to inspect a prison for COVID-19

safety practices in advance of an order entering a preliminary injunction. See Order at 2, ECF

No. 62 (Apr. 28, 2020).

       Here, the Court faces directly conflicting claims regarding compliance with the Court’s

injunction and an institution with limited access, particularly during the present pandemic. The

Court has not yet made findings, however, of noncompliance. Moreover, as Defendants take

pains to note, Plaintiff’s evidence of noncompliance is overwhelmingly hearsay or double

hearsay, as opposed to sworn declarations from detainees themselves or live testimony.

Accordingly, the Court shall appoint a Special Monitor with the sole role of an inspection of each

of the three remaining Facilities and the production of a report assessing Defendants’ compliance

with the Court’s [123] Order. Because the present evidentiary record consists solely of



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declarations, this limited appointment will assist the Court in resolving factual disputes regarding

the provision of services at Facilities to which neither Plaintiff nor the Court presently has

access. Furthermore, as the Court has yet to make a finding of noncompliance, it shall deny

without prejudice Plaintiff’s request for the appointment of a special master.

   B. Motion to Enforce and Parties’ Sole Legal Dispute

       Although almost all of the parties’ present disputes are entirely factual, the parties also

disagree over how to construe the injunction’s requirement that Defendants must “ensur[e] that

there is, at a minimum, one telephone (or VTC console) for every ten detained individuals.”

Defendants argue that the numerator of the ratio should be working phones and the denominator

detainees housed within a Facility. Defs.’ Supp. Resp. at 16-17. Noting that such a ratio would

fluctuate based on detainee count, Plaintiff suggests that the Court meant the denominator to be

based on a measure such as bed capacity and not the detainee population at any given time. Pl.’s

Supp. Br. at 11. Plaintiff also argues that the Court meant to count a phone only if it were at least

six feet away from the next (to permit social distancing) and if its placement necessarily and

always ensured confidentiality. Id. at 11-12.

       As to the denominator, the Order means what it says: “one telephone (or VTC console)

for every ten detained individuals.” ECF No. 123 at 1 (emphasis added). The Order does not

state “one telephone (or VTC console) for every bed.” The Court purposefully modeled this

language on PBNDS 5.6, which provides for a baseline number of phones, “one operable

telephone for every 25 detainees,” and a preferred number, “one telephone . . . for every ten (10)

detainees.”) Id. (V)(1) (emphasis omitted). As for the numerator, Plaintiff is correct that the

Court’s Order should be read in its entirety. In other words, a phone that cannot be used

confidentially under any circumstances does not count per the Order’s third requirement.



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Similarly, phones that require users to be within six feet of others, per the Order’s fifth

requirement, do not presently count as CDC Interim Guidance continues to recommend social

distancing in prison settings. See CDC, Interim Guidance on Management of Coronavirus

Disease 2019 (COVID-19) in Correctional and Detention Facilities (June 9, 2021) available at

https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-

correctional-detention.html (last accessed February 2, 2022 2:16 PM).

       For the reasons stated above, the Court shall defer finding whether each Facility’s phone

count complies with the Order until receipt of a report from a Special Monitor. Finally, and more

broadly, the Court is hesitant to offer further clarification of the Order where “[c]oncern with

minutiae of prison administration” risks “distract[ing] the Court” from the Court’s focus on the

resolution of the constitutional questions before it. See Bell v. Wolfish, 441 U.S. 520, 544 (1979);

see also Inmates v. Occoquan v. Barry, 844 F.2d 828, 836 (D.C. Cir. 1988) (“the administration

of prisons implicates broader concerns over judicial competence to decree sweeping

modifications in prison conditions”).

                                      III.    CONCLUSION

       For the foregoing reasons, it is hereby

       ORDERED, that Plaintiff’s [139] Motion to Enforce the Court’s June 17, 2020 Order

Granting Injunctive Relief is DENIED WITHOUT PREJUDICE IN PART and HELD IN

ABEYANCE IN PART. It is further

       ORDERED, that the parties shall MEET AND CONFER and, on or before February

16, 2022, identify in a joint status report no fewer than two experts in civil detention that the

parties jointly agree would adequately serve as a Special Monitor. If each side cannot agree on a




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candidate, they may propose one contested candidate each. A more detailed order appointing the

Special Monitor shall follow the parties’ joint status report.

       SO ORDERED.

Date: February 2, 2022                                     s/                       )
                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge




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